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                                                                                                     E-FILED
                                                                Tuesday, 30 November, 2021 02:46:08 PM
                                                                            Clerk, U.S. District Court, ILCD



                        IN THE UNITED STATES DISTRIC COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISION


KURT BEATHARD,
                                                            Civil Action No.
                               Plaintiff,

  v.                                                           COMPLAINT

LARRY LYONS, in his individual and                          (Jury Trial Demanded)
official capacity as Director of Athletics at
Illinois State University, and BROCK
SPACK, in his individual and official
capacity as Head Football Coach at Illinois
State University,

                               Defendants.



                                        INTRODUCTION

       1.      Kurt Beathard (“Beathard”) is suing Larry Lyons and Brock Spack (“Defendants”

unless identified separately) pursuant to 42 USC § 1983. In 2020, Beathard was a football coach

at Illinois State University (“ISU”), a public university governed by the First Amendment.

Defendants terminated Beathard for one reason and one reason only: He did not toe the

party line regarding the Black Lives Matter organization. Specifically, after someone put a

Black Lives Matter poster on Beathard’s office door, he replaced it with a poster that expressed

his own religious and political views. Defendants’ decision to terminate Beathard because of his

poster is classic First Amendment retaliation/viewpoint discrimination. Beathard seeks declaratory

and injunctive relief; nominal damages; compensatory damages; reinstatement with backpay;

punitive damages; and attorney fees, expense, and costs pursuant to 42 USC § 1988.
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                                                 II.
                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction to hear and decide all issues presented in this case

pursuant to 28 USC §§ 1331, 1343, and 1367, this case being predicated upon a federal question

and the enforcement of certain federal constitutionally protected rights as guaranteed by the First

and Fourteenth Amendments of the United States Constitution.

       3.      This Court has authority to grant declaratory relief pursuant to the Declaratory

Judgment Act, 28 USC §§ 2201 and 2202.

       4.      Venue is proper in this Court pursuant to 28 USC § 1491(b), as Beathard resided at

all times relevant, and Defendants reside, within this federal district. Moreover, Defendants’

wrongful conduct took place within this federal district.

                                                 III.
                                             PARTIES

                                            PLAINTIFF

       5.       Beathard is an adult citizen and resided at all times relevant in Normal, McLean

County, Illinois and is a former employee of ISU.

                                          DEFENDANTS

       6.      Defendant Larry Lyons (“Lyons”) is an adult citizen and resides in Normal,

McLean County, Illinois and was the Director of Athletics at ISU. At all times relevant, Lyons

acted under color of state law and is sued in his individual and official capacities.

       7.      Defendant Brock Spack (“Spack”) is an adult citizen and resides in Bloomington,

McLean County, Illinois and was the Head Football Coach at ISU. At all times relevant, Spack

acted under color of state law and is sued in his individual and official capacities.



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                                                 IV.

                                              FACTS

       8.      Beathard has been a college football coach for more than twenty-five (25) years.

       9.      Beathard has coached at Western Carolina University, Bucknell, Eastern Kentucky

University, Gardner-Webb University, University of Illinois and ISU.

       10.     While employed by ISU, Beathard consistently performed his duties to the

satisfaction of Defendants and, prior to his termination and the events giving rise to this complaint,

had never been subjected to disciplinary action of any kind.

       11.     In 2014 and 2015, Beathard was at ISU, and his offense set several records,

achieved national ranking, and won a share of the Missouri Valley Football Conference

Championship.

       12.     In 2016, Beathard resigned from ISU because of family issues, including his wife’s

battle with cancer.

       13.     At the end of the 2017 football season, Spack asked Beathard to return to ISU.

Beathard returned.

       14.     In 2018 and 2019, Beathard’s offense was again successful.

       15.     In late Spring/early Summer 2020, Beathard’s wife became very sick with cancer

and passed away on 6/13/20.

       16.     In late Summer 2020, Beathard returned to ISU. The campus community was

dealing with tension resulting from the death of George Floyd.

       17.     By this time, Black Lives Matter was a movement on the ISU campus. Spack

brought Beathard up to speed about the atmosphere on campus and informed him that “Black Lives

Matter is freaking nuts.”



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       18.     Throughout his career, Beathard has successfully worked with young men of all

races. While he believes black lives matter, he is opposed to the Black Lives Matter organization

because it was founded by self-described “trained Marxists,” it divides human beings by skin color,

and it supports violence and property destruction.

       19.     During mid-August 2020, ISU’s Department of Athletics printed Black Lives

Matter posters. Several football coaches put Black Lives Matter posters on their office doors.

Someone put a Black Lives Matter poster on Beathard’s office door.




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       20.     Beathard removed the Black Lives Matter poster from his office door and replaced

it with his own message: “All Lives Matter to Our Lord and Savior Jesus Christ.” Beathard’s poster

was on his office door for less than two (2) weeks.




       21.     On or about 8/27/20, Lyons addressed ISU’s student athletes via zoom. During his

address, in a well-intended attempt to foster unity, Lyons stated: “All Redbird Lives Matter.”

Lyons’ statement was not well-received by the student athletes, and he became embroiled in

controversy and apologized. (Coincidentally[?], Lyons announced his retirement approximately

one (1) month later.)




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       22.      On or about 8/29/20, Spack came to Beathard’s office and asked him to remove his

poster – “All Lives Matter to Our Lord and Savior Jesus Christ.” After considering Spack’s

request, Beathard removed his poster, and Spack thanked him.

       23.      By 8/30/20, some student athletes had put together a list of demands, one of which

was that the Department of Athletics must publicly support Black Lives Matter.

       24.      On 8/31/20, the Department of Athletics responded by issuing an “Action Plan for

Social Change,” wherein it announced its public support for Black Lives Matter. The Plan also

promised “education” for Lyons, all athletic administrators, and coaches on “diversity, equity, and

anti-racism.”

       25.      Meanwhile, another coach who wanted to replace Beathard as offensive coordinator

had taken a picture of Beathard’s poster and shared it with the football players. Apparently, the

picture upset some of the football players.

       26.      On 9/1/20, some of the football players boycotted practice.         Spack came to

Beathard’s office and informed him that it looked like Lyons was going to keep his job but that

Beathard was in trouble over the poster.

       27.      On the morning of 9/2/20, Spack called Beathard into his office and informed him

that he didn’t “like the direction of the offense” and that he was being terminated from his position

as offensive coordinator. Spack’s explanation was 100% pretext. The offense had thrived under

Beathard, and Spack had never complained about the direction of the offense.

       28.      Spack’s decision to terminate Beathard was authorized and supported by Lyons.

       29.      After Spack informed Beathard that he was being terminated from his position as

offensive coordinator, Spack literally began walking from office to office asking various coaches




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to take Beathard’s position. (A highly unusual method of replacing your offensive coordinator.)

Beathard was ultimately replaced by two (2) coaches.

         30.    Beathard was then reassigned to a completely bogus and made-up position, where

he worked from home until his contract ran out at the end of 2020. Beathard’s contract was not

renewed.

         31.    It is important to note here that ISU is a public school; it is funded by taxpayers.

         32.    Thus, ISU and its officials are governed by the First Amendment. They cannot

force their employees to adopt the party line on issues of public concern, including the Black Lives

Matter organization, nor can they control their employees’ expression of religious and political

views.

         33.    As an ISU employee, Beathard had a right to express his religious and political

views not only under the First Amendment but also under ISU policy. Specifically, ISU has long

adopted an Anti-Harassment and Non-Discrimination Policy which provides:

         Illinois State University … is strongly committed to the ethical and legal principal
         that each member of the University Community enjoys the right to free speech.
         The right of free expression and the open exchange of ideas stimulates debate,
         promotes creativity, and is essential to a rich learning environment… As members
         of the University Community, students… and staff have a responsibility to
         respect others and show tolerance for opinions that differ from their own...

         34.    Rather than throwing Beathard under the bus, Defendants should have shown

respect for the First Amendment and ISU policy. Specifically, they should have used Beathard’s

speech and expression as a teaching moment for any ISU football players who objected to his

message, i.e. letting them hear differing viewpoints and learn to “show tolerance for opinions that

differ from their own”, even about the Black Lives Matter organization, and letting them learn

about the First Amendment and what it means at a public university. Instead, Defendants taught




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the football players that groupthink is paramount and that failure to toe the party line will result in

termination.

                                                  V.

                                    42 USC § 1983
                         VIOLATION OF THE FIRST AMENDMENT

                              (Retaliation/Viewpoint Discrimination)

           35.   Beathard incorporates by reference herein, as fully as though set forth verbatim, the

allegations set forth in the preceding numbered paragraphs, and he does further allege as follows.

           36.   Beathard’s poster was constitutionally protected speech/expression. Specifically,

Beathard’s poster addressed matters of public concern – his religious and political views relating

to the Black Lives Matter organization, and he put the poster on his own office door as a private

citizen.

           37.   Defendants’ decision to terminate Beathard’s employment was in retaliation for his

viewpoint on the Black Lives Matter organization. If Beathard had left the Black Lives Matter

poster on his office door, he would still be offensive coordinator at ISU. But because he had the

audacity to replace it with a poster that expressed his own religious and political views, he was

terminated.

           38.   Defendants’ actions have deprived Beathard of and infringed upon his right to free

speech as guaranteed by the First Amendment.

           39.   Defendants’ actions have likely had and will continue to have a chilling effect on

the exercise of free speech by other employees at ISU.

           40.   Defendants’ actions were intentional and reckless and callously indifferent to

Beathard’s right to free speech as guaranteed by the First Amendment.




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        41.       As a proximate result of Defendants’ actions, Beathard has suffered past and future

economic damages in the form of lost income, and Beathard has suffered mental/emotional

distress.

        42.       Beathard is entitled to the following from Defendants: declaratory and injunctive

relief as set forth in the prayer below; an award of nominal damages; compensatory damages;

reinstatement with backpay; punitive damages to deter future violations of the First Amendment

and to reverse the chilling effect of Defendants’ action; and attorney fees, costs, and expenses.


                                       PRAYER FOR RELIEF

        WHEREFORE, Beathard respectfully requests that the Court enter judgment against

Defendants and provide him with the following relief:

        A. A declaration that Defendants’ retaliation against Beathard for expressing his religious

              and political viewpoints regarding the Black Lives Matter organization violated his

              rights under the First Amendment;

        B. A permanent injunction prohibiting Defendants from retaliating against individuals for

              expressing their religious and political viewpoints in their personal capacities.

        C. Nominal damages for Defendants’ violation of Beathard’s First Amendment rights;

        D. Compensatory damages for Defendants’ violation of Beathard’s First Amendment

              rights;

        E. Reinstatement with backpay;

        F. Punitive damages to deter Defendants from future violations of the First Amendment

              and to reverse the chilling effect of Defendants’ actions;




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       G. Attorney fees, costs and expenses pursuant to 42 USC § 1988; and

       H. Such other and further relief as the Court may deem just and proper.


DATED: November 30, 2021


Respectfully submitted,

By: s/ Douglas A. Churdar______                    By: s/ Adam W. Ghrist
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